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                                                                                                             ALLIANCES IN MEXICO
                                                                                                                 AND SRI LANKA




 March 10, 2020


 VIA ECF

 The Honorable Joel Schneider
 United States Magistrate Judge
 District of New Jersey
 Mitchell H. Cohen Building & U.S. Courthouse
 4th & Cooper Streets, Courtroom 3C
 Camden, NJ 08101


             Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                       Case No. 1:19-md-02875-RBK-JS

 Dear Judge Schneider:

        This letter is to provide Defendants’ positions with respect to the topics on the agenda for
 the conference with the Court on March 11.

 1.          Downstream Defendant Discovery

             (a)       Retail Pharmacy Defendants

         Plaintiffs and the Retail Pharmacy Defendants continue to meet and confer regarding the
 Rule 34 discovery in an attempt to continue to narrow the issues for the Court’s consideration at
 the March 25, 2020 status conference. Following the Parties’ meet and confer regarding the Retail
 Pharmacy Defendants’ Fact Sheet (“DFS”) on February 21, 2020, Plaintiffs advised that they
 would be revising portions of the DFS and would send the Retail Pharmacy Defendants a redline
 for their consideration. Plaintiffs have since advised that they continue to review the current draft
 of the DFS and that it is their position that further negotiation on the DFS can follow the Court’s
 rulings on and the parties’ finalization of the Rule 34 Discovery. The Retail Pharmacy Defendants
 have agreed to that approach.


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        Regarding the macro issue briefing, at the Court’s direction, Plaintiffs and the Retail
 Pharmacy Defendants have conferred regarding the briefing schedule on the Rule 34 macro
 discovery issues, and have agreed to the following schedule:

               Plaintiffs’ opening letter brief due Thursday, March 12 by 5 Eastern
               Retail Defendants’ response due Monday, March 23 by 3 Eastern
               Plaintiffs’ reply, if any, due Tuesday, March 24 by 5 Eastern

        (b)     Wholesaler Defendants

         Wholesaler Defendants continue to meet and confer with Plaintiffs regarding the Rule 34
 discovery in an attempt to narrow the issues for the Court’s consideration at the March 25, 2020
 status conference, mindful of the Court’s assurances that discovery to Downstream Defendants
 should be tailored in scope. Wholesaler Defendants have most recently provided to Plaintiffs’
 counsel for their consideration a set of what should be the final set of revised requests for
 production from which Macro Discovery Issues will be argued. Additionally, the parties continue
 to hone the macro discovery issues relevant to the requests for production to the Wholesalers that
 will be the subject of the briefing to the Court in advance of the March 25, 2020 status
 conference. Finally, Wholesaler Defendants understand that, as with the Retailer Defendants,
 Plaintiffs’ position is that negotiation of a DFS to Wholesaler Defendants, if any, can follow the
 Court’s rulings on and the parties’ finalization of the Rule 34 requests for production. Wholesaler
 Defendants have no objection to that approach.

 2.     Over-identification of Defendants in Short Form Complaints

         On March 3, 2020 the Court ordered certain Plaintiffs to file amended Short Form
 Complaints (“SFC”) to cure their over-identification of Defendants. See ECF 388 at 2. Despite
 being on notice from the Court’s recent order, and from the Court’s repeated reminders that a
 failure to investigate the source of Plaintiffs’ valsartan violates Rule 11, the Defendants continue
 to receive SFCs that suffer from this deficiency. The table attached as Exhibit A lists SFCs filed
 since the February 26 Case Management Conference that similarly name every Defendant at
 various levels of the supply chain. Defendants respectfully request that the Court order the
 Plaintiffs listed in Exhibit A to amend their SFCs in accordance with Rule 11 by March 23, 2020
 as well.

         In addition, Defendants list two Plaintiffs whose amended SFC still do not satisfy their
 obligations to perform basic due diligence. In their original SFCs, Plaintiffs Dannheim and Santora
 named only John Doe defendants. Defendants identified this deficiency on February 25, 2020 (see
 ECF 383, Ex. B, Table B), and thus these Plaintiffs are subject to the Court’s order requiring an
 Amended Short Form Complaint (see ECF 388 at 2). On March 2, these two Plaintiffs filed
 amended SFCs that name a single Retailer/Pharmacy but continue to name only John Does at all
 other supply-chain levels. Defendants raise these amended SFCs to clarify that such minimal
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 amendments do not cure the Plaintiffs’ lack of due diligence or excuse their counsel from attending
 the March 25 CMC as ordered by the Court. See ECF 388 at 2.

 3.     Plaintiff Fact Sheets

         On January 24, 2020, Defendants served deficiency notices in the Mullins and Cantrell
 cases because Plaintiffs had failed to file Plaintiff Fact Sheets. Counsel for Mullins and Cantrell
 responded on February 7, 2020, noting that she had filed motions to withdraw as counsel in those
 matters. On February 27, 2020, the Court denied these motions to withdraw as counsel. See Dkt.
 385. Defendants request that the Court enter an order to show cause why the Mullins and Cantrell
 cases should not be dismissed. Pursuant to Case Management Order 16 (Dkt. 249). Defendants
 will raise additional deficiencies relating to the Plaintiff Fact Sheets in their position statement in
 advance of the March 25 case management conference.

                                                        Respectfully submitted,

                                                        /s/ Seth A. Goldberg

                                                        Seth A. Goldberg




 cc:    Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
        Jessica Priselac, Esq. (via email, for distribution to Defendants’ Counsel)
        Sarah Johnston, Esq. (via email)
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